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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

BOLLINGER AMELIA REPAIR, LLC and                     * CIVIL ACTION NO.
BOLLINGER ALGIERS, LLC                               *
                                                     *
versus                                               * SECTION JUDGE
                                                     *
BOUCHARD TRANSPORTATION CO.,                         *
INC., in personam, BARGE B NO. 240, in rem,          * DIVISION
B NO. 240 CORP., in personam,                        *
BARGE B NO. 275, in rem,
B NO. 275 Corp., in personam,               *
BARGE B NO. 235, in rem, B NO. 235          * MAGISTRATE JUDGE
CORP., in personam, M/V RALPH E.            *
BOUCHARD, in rem, and TUG RALPH E.          *
BOUCHARD CORP., in personam                 *
*****************************


                                         COMPLAINT

         NOW INTO COURT, through undersigned counsel, come Plaintiffs, Bollinger Amelia

Repair, LLC and Bollinger Algiers, LLC (collectively, “Bollinger”), who file this Complaint

against Defendants, Bouchard Transportation Co., Inc. (“Bouchard”), in personam, Barge B NO.

240, in rem, B NO. 240 Corp., in personam, Barge B NO. 275, in rem, B NO. 275 Corp., in

personam, Barge B NO. 235, in rem, B NO. 235 Corp., in personam, the M/V RALPH E.

BOUCHARD, in rem, and Tug Ralph E. Bouchard Corp., in personam (collectively,

“Defendants”), and in support thereof respectfully aver as follows:
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                                                 1.

       This is an admiralty and maritime claim for vessel repair services within the jurisdiction

of the United States and of this Honorable Court, and within the meaning of Rule 9(h) of the

Federal Rules of Civil Procedure.

                                                 2.

       Bollinger Amelia Repair, LLC is a Louisiana limited liability company with its domicile

address in Lockport, Louisiana, and is authorized to do and doing business within the State of

Louisiana and the jurisdiction of this Honorable Court.

                                                 3.

       Bollinger Algiers, LLC is a Louisiana limited company with its domicile address in

Lockport, Louisiana, and is authorized to do and doing business within the State of Louisiana

and the jurisdiction of this Honorable Court.

                                                 4.

       Bouchard Transportation Co., Inc. is a New York corporation with a mailing address of

58 S. Service Rd. #150, Melville, New York 11747, and is doing business in the State of

Louisiana. Bouchard operates vessels which call on ports on the Gulf Coast and within the

jurisdiction of this Court. Bouchard also contracts for repair of vessels it operates in ports on the

Gulf Coast and within the jurisdiction of this Court.

                                                 5.

       The Barge B NO. 240 is an offshore oil barge bearing official number 998038. Upon

information and belief Barge B NO. 240 is owned by B NO. 240 Corp., a New York corporation

with a mailing address of 58 S. Service Rd. #150, Melville, New York 11747, and is operated by

Bouchard Transportation Co., Inc.




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                                               6.

       The Barge B NO. 275 is an offshore oil barge bearing official number 640436. Upon

information and belief Barge B NO. 275 was owned by B NO. 275 Corp., a New York

corporation with a mailing address of 58 S. Service Rd. #150, Melville, New York 11747, and at

all material times, was operated by Bouchard Transportation Co., Inc.

                                               7.

       The Barge B NO. 235 is an offshore asphalt/black oil barge bearing official number

1031170. Upon information and belief Barge B NO. 235 is owned by B NO. 235 Corp., a New

York corporation with a mailing address of 58 S. Service Rd. #150, Melville, New York 11747,

and is operated by Bouchard Transportation Co., Inc.

                                               8.

       The M/V RALPH E. BOUCHARD is an offshore tug bearing official number 923248.

Upon information and belief the M/V RALPH E. BOUCHARD is owned by Tug Ralph E.

Bouchard, Inc., a New York corporation with a mailing address of 58 S. Service Rd. #150,

Melville, New York 11747, and is operated by Bouchard Transportation Co., Inc.

                                               9.

       On or about October 2, 2018 and subsequent thereto, Bollinger Amelia Repair, LLC

provided labor, material, and equipment to repair the Barge B NO. 240. On October 5, 2018,

Bollinger Amelia Repair, LLC issued to Bouchard invoice 261810002 in the amount of

$732,912, of which Bouchard paid $366,456; invoice 261810005 in the amount of $235,814.72,

of which Bouchard paid $117,907; invoice 261810006 in the amount of $279,039.09, which

Bouchard has failed to pay; invoice 261810012 in the amount of $217,100, of which Bouchard




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has paid $108,500.00; and invoice 261810013 in the amount of $622,750, of which Bouchard

has paid $375,000. The total remaining unpaid by Bouchard is $1,119,752.81. Copies of the

aforesaid invoices are attached as Exhibit A, in globo. These invoices provide for interest at the

rate of one percent per month, 12% annually, after 30 days.

                                               10.

       Bouchard Transportation Co., Inc., B NO. 240 Corp., and Barge B NO. 240, in rem, are

liable in solido to Bollinger Amelia Repair, LLC for the unpaid balance for labor, material, and

equipment to repair the Barge B NO. 240, plus interest.

                                               11.

       From around March 22, 2018 through May 16, 2018, Bollinger Amelia Repair, LLC

provided labor, material, and equipment to repair the Barge B NO. 275. On March 22 2018,

Bollinger Amelia Repair, LLC issued to Bouchard invoice 261803005 in the amount of

$831,197; invoice 261803006 in the amount of $132,194.00; and invoice 261803007 in the

amount of $133,725. On April 9, 2018, Bollinger Amelia Repair, LLC issued to Bouchard

invoice 261804003 in the amount of $110,000. On April 30, 2018, Bollinger Amelia Repair,

LLC issued to Bouchard invoice 261804012 in the amount of $1,250,000; invoice 261804013 in

the amount of $635,000.00; and invoice 261804014 in the amount of $21,803. On May 15,

2018, Bollinger Amelia Repair, LLC issued to Bouchard invoice 261805010 in the amount of

$3,250.00. On August 24, 2018, Bollinger Amelia Repair, LLC issued to Bouchard invoice

261808005 in the amount of $37,200.00. The total unpaid by Bouchard is $3,154,369. Copies

of the aforesaid invoices are attached as Exhibit B, in globo. These invoices provide for interest

at the rate of one percent per month, 12% annually, after 30 days.

                                               12.




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       Bouchard Transportation Co., Inc., B NO. 275 Corp., and Barge B NO. 275, in rem, are

liable in solido to Bollinger Amelia Repair, LLC for the unpaid balance for labor, material, and

equipment to repair the Barge B NO. 275, plus interest.

                                                13.

       On or around April 18, 2017 and subsequent thereto, Bollinger Algiers, LLC furnished

labor and material to repair an air cleaner of the Barge B NO. 235. Bollinger Algiers, LLC

issued to Bouchard invoice 221812001 in the amount of $3,400.00, which remains due and

owing. A copy of the aforesaid invoice is attached as Exhibit C. This invoice provides for

interest at the rate of one percent per month, 12% annually, after 30 days.

                                                14.

       Bouchard Transportation Co., Inc., B NO. 235 Corp., and Barge B NO. 235, in rem, are

liable in solido to Bollinger Algiers, LLC for the unpaid balance for labor, material, and

equipment to repair the Barge B NO. 235, plus interest.

                                                15.

       Around December 14, 2016 and April 18, 2017, Bollinger Algiers, LLC furnished labor

and material to repair the M/V RALPH E. BOUCHARD. Bollinger Algiers, LLC issued to

Bouchard invoice 221609002D in the amount of $80,000.00 and invoice 221809010 in the

amount of $18,632.00. The total which remains due and owing is $98,632.00. Copies of the

aforesaid invoice are attached as Exhibit D, in globo. Invoice 221609002D provides for interest

at the rate of one and a half percent per month, 18% annually, after 30 days. Invoice 221809010

provides for interest at the rate of one percent per month, 12% annually, after 30 days.




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                                               16.

        Bouchard Transportation Co., Inc., Tug Ralph E. Bouchard, Inc., and the M/V RALPH E.

BOUCHARD, in rem, are liable in solido to Bollinger Algiers, LLC for the unpaid balance for

labor, material, and equipment to repair the M/V RALPH E. BOUCHARD, plus interest.

                                               17.

        Despite demand for payment for the work performed by Bollinger, Defendants have

failed to pay in full the amounts owed on the attached invoices, Exhibits A through D, as well as

all interest due.

                                               18.

        Bollinger seeks recovery from Defendants of all amounts owed plus interest as provided

for in the invoices, Exhibits A through D, post-judgment interest, and costs.

        WHEREFORE, the above premises considered, Plaintiffs, Bollinger Amelia Repair,

LLC and Bollinger Algiers, LLC, pray:

        1. That process in due form of law in a cause of admiralty and maritime jurisdiction be

            issued against the Barge B NO. 240, its tackle, apparel, etc., in rem, and that all

            persons having or claiming any interest in the said vessel be cited to appear and

            answer;

        2. That said Barge B NO. 240 be condemned and sold to pay the amounts due Bollinger

            Amelia Repair, LLC, together with interest and costs;

        3. That process in due form of law in a cause of admiralty and maritime jurisdiction be

            issued against the Barge B NO. 275, its tackle, apparel, etc., in rem, and that all

            persons having or claiming any interest in the said vessel be cited to appear and

            answer;




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4. That said Barge B NO. 275 be condemned and sold to pay the amounts due Bollinger

   Amelia Repair, LLC, together with interest and costs;

5. That process in due form of law in a cause of admiralty and maritime jurisdiction be

   issued against the Barge B NO. 235, its tackle, apparel, etc., in rem, and that all

   persons having or claiming any interest in the said vessel be cited to appear and

   answer;

6. That said Barge B NO. 235 be condemned and sold to pay the amounts due Bollinger

   Algiers, LLC, together with interest and costs;

7. That process in due form of law in a cause of admiralty and maritime jurisdiction be

   issued against the M/V RALPH E. BOUCHARD, its engines, tackle, apparel, etc., in

   rem, and that all persons having or claiming any interest in the said vessel be cited to

   appear and answer;

8. That said M/V RALPH E. BOUCHARD be condemned and sold to pay the amounts

   due Bollinger Algiers, LLC, together with interest and costs;

9. That process may be issued against Bouchard Transportation Co., Inc., in personam,

   and that it be adjudged liable to Plaintiffs in the amounts owed Plaintiffs, with interest

   and costs;

10. That process may be issued against B NO. 240 Corp., in personam, and that it be

   adjudged liable to Plaintiffs in the amounts owed Plaintiffs, with interest and costs.

11. That process may be issued against B NO. 275 Corp., in personam, and that it be

   adjudged liable to Plaintiffs in the amounts owed Plaintiffs, with interest and costs.

12. That process may be issued against B NO. 235 Corp., in personam, and that it be

   adjudged liable to Plaintiffs in the amounts owed Plaintiffs, with interest and costs.




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     13. That process may be issued against Tug Ralph E. Bouchard, Inc., in personam, and

        that it be adjudged liable to Plaintiffs in the amounts owed Plaintiffs, with interest and

        costs.

     14. That Plaintiffs’ Complaint be deemed good and sufficient and that after due

        proceedings had, there be judgment in favor of Plaintiffs and against the Defendants,

        in solido, in the amounts prayed, with interest and costs;

     15. That Plaintiffs shall have such other and further relief as is just and equitable under

        the circumstances.

                                           Respectfully submitted,

                                           ADAMS AND REESE LLP


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PLEASE WITHHOLD IN REM SERVICE AT THIS TIME




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